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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

ROQUE “ROCKY” DE LA FUENTE, and                :
ROCKY 2016 LLC,                                :
                                               :
       Plaintiffs,                             :      Civil Action No.:     18-336 (RC)
                                               :
       v.                                      :      Re Document No.:      22
                                               :
DNC SERVICES CORPORATION, and                  :
DEBORAH WASSERMAN SCHULTZ                      :
                                               :
       Defendants.                             :

                                          ORDER

               DENYING PLAINTIFF’S MOTION TO ALTER OR AMEND JUDGMENT

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Plaintiff’s motion to alter or amend judgment (ECF No. 22) is

DENIED. It is FURTHER ORDERED that Plaintiff shall have 30 days to seek leave to amend

his Complaint under Federal Rule of Civil Procedure Rule 15.

       SO ORDERED.


Dated: August 2, 2019                                          RUDOLPH CONTRERAS
                                                               United States District Judge
